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Honorable Judge Smith Camp,                                                 May 22, 2019

         I want to thank you for your swift response and showing me the path for the possibility for
relief. I'm truly ignorant of the law and the process to file motions. I'm doing everything I can to learn
for myself instead of relying on others. I need to learn how to do these things for myself. It's hard but
I'm trying. Nobody really knows someone's situation but that person.
         I'm starting the process by filing the proper paperwork thru the Warden and then taking
whatever steps to follow. I'm praying that I succeed in the process that I'm taking. It will be a difficult
hill to climb but I pray that I reach the top of the mountain.

Thank you very much!

Jerry Urkevich 18411-047
FCI McKean

P.S. I had already sent last letter before I received the court order.




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